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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                               )
IN RE: AQUEOUS FILM-FORMING                    )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                       )
LITIGATION                                     )   CASE MANAGEMENT ORDER NO. 26
                                               )
                                               )   This Order Relates to All Actions
                                               )

    SECOND BELLWETHER PROGRAM: INITIAL PERSONAL INJURY CLAIMS

       The Court hereby issues the following initial Case Management Order (“CMO”) to govern

a second set of Bellwether cases alleging certain personal injuries in this complex MDL. 1

       As with the Water Provider Bellwether cases, to address the complexities of the cases in

general, the Court will implement a two-step process for this category of Bellwether cases. The

first step will consist of identifying and selecting certain “Initial Personal Injury Bellwether

Discovery Pool Plaintiffs.” These Initial Personal Injury Bellwether Discovery Pool Plaintiffs will

be selected by the Parties and undergo additional discovery (beyond the Plaintiff Fact Sheet

(“PFS”) and Defense Fact Sheet (“DFS”) processes and the general liability discovery of

Defendants), which shall be referred to as “Core Discovery.” This process and the cases in this

process will also be referred to as “Personal Injury Tier One.” Following Core Discovery (a/k/a

Tier One) in the Initial Personal Injury Bellwether Discovery Pool Plaintiffs’ cases, the Parties and

Court will narrow the Initial Personal Injury Bellwether Discovery Pool Plaintiffs to a set of “Initial




1
  These include any individual personal injury plaintiffs who may have also alleged and/or served
a separate Plaintiff Fact Sheet seeking medical monitoring or property damage. For clarity
purposes, excluded from these Initial Personal Injury Bellwether Discovery Pool cases is any case
in which a plaintiff submitted a Plaintiff Fact Sheet(s) only for medical monitoring and/or property
damage. This pool also excludes any case in which class certification is sought.

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Personal Injury Bellwether Trial Pool Plaintiffs” or “Personal Injury Tier Two” cases. Thereafter,

the Tier Two cases will undergo additional discovery to become trial ready, including expert

reports, expert discovery, and dispositive motions practice, with the Court setting a trial date for

the first personal injury bellwether trial. The process shall proceed as follows:

       A.      Eligibility Requirements for Initial Personal Injury Bellwether Discovery Pool
               Plaintiffs.

               1.      The Initial Personal Injury Bellwether Discovery Pool Plaintiffs shall be

                       limited to those who claim exposure from AFFF use at the following sites:

                      i.       Peterson Air Force Base and/or Colorado Springs Municipal
                               Airport
                     ii.       Naval Air Station Joint Reserve Base Willow Grove and/or Naval
                               Air Warfare Center Warminster
               2.      Only plaintiffs alleging the following diseases in their Personal

               Injury PFS shall be eligible for selection as an Initial Personal Injury Bellwether

               Discovery Pool Plaintiff:

                      i.       Kidney Cancer

                     ii.       Testicular Cancer

                    iii.       Hypothyroidism/Thyroid Disease

                    iv.        Ulcerative Colitis

               3.      In addition, for a plaintiff to be eligible for selection as an Initial Personal

       Injury Bellwether Discovery Pool Plaintiff, the plaintiff must allege exposure to PFAS

       from an AFFF source in their drinking water and may not allege PFAS exposure from

       direct exposure to AFFF.

               4.       On or before April 14, 2023, Defendants will identify the cases currently

       pending that are eligible as Bellwether Discovery Pool cases (i.e., filed, served and PFS

       submitted) and provide a list of same to the PEC (“Eligibility List”). In order to be eligible

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  for inclusion on the Eligibility List, a plaintiff must have filed and served his or her

  complaint on all named defendants and that plaintiff must have served a substantially

  complete Personal Injury PFS pursuant to CMO 5 by March 31, 2023. In addition to other

  potential deficiencies, a plaintiff’s failure to provide a specific disease/diagnosis in answer

  to Personal Injury Plaintiff Fact Sheet Question 24 or a list of medical providers in answer

  to Question 25 shall render that fact sheet per se inadequate and not “substantially

  complete” within the meaning of CMO 5. For the avoidance of doubt, inclusion on the

  Eligibility List does not waive any defense in such cases, to include without limitation

  defenses set forth in Federal Rules of Civil Procedure 8 and 12, such as service of process

  and subject matter or personal jurisdiction.

          5.      On or before May 5, 2023, the PEC will review the Eligibility List provided

  by Defendants pursuant to paragraph A.3, above, and either agree to the list as provided by

  Defendants, identify any case(s) on the list which the PEC believes are not eligible and/or

  identify any cases which the PEC believes are eligible but not on the Eligibility List.

          6.      On or before May 19, 2023, the Parties will meet and confer to reconcile

  the Eligibility List.

          7.      Within fourteen (14) days of the Parties’ reconciliation of the Eligibility

  List, counsel for the Plaintiffs on the Eligibility List will provide Defendants (via email at

  AFFFMDL.Authorizations@nelsonmullins.com) (1) to the extent not previously provided,

  any medical, property, water, and utility records called for by the Plaintiffs’ Fact Sheets

  that are in each eligible plaintiff’s possession, custody, or control and (2) new duly

  executed medical record and water and utility company record authorizations. To be clear,




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  new authorizations shall be provided if the previously served authorizations are greater

  than six months old.

          8.      All Initial Personal Injury Bellwether Discovery Pool Plaintiffs (including

  any Replacement Plaintiffs as described below) shall cooperate in good faith with

  Defendants as necessary to ensure reasonable access to plaintiffs’ medical, property, water,

  and utility records, regardless of whether Core Discovery has yet commenced.

          9.      Any deficiencies for the Defense Fact Sheets at issue for the Sites identified

  in Paragraph A.1 above shall be identified by the PEC to defendants by no later than April

  28, 2023, and cured by May 18, 2023, or subject to motion practice by no later than May

  25, 2023, absent agreement by the parties to extend.

  B.      Selection of Initial Personal Injury Bellwether Discovery Pool Plaintiffs

          1.      The Initial Personal Injury Bellwether Discovery Pool Plaintiffs shall be

  selected by the Parties by July 28, 2023. For the avoidance of doubt, selection shall be of

  individual plaintiffs and not entire cases where plaintiffs may have been part of multiple-

  plaintiff complaints. (However, an individual plaintiff named in a multi-plaintiff complaint

  can be selected). All claims brought by the selected individual plaintiff, including any

  dependent or derivative claims (e.g., loss of consortium), shall be litigated in this process,

  including, for example, claims for property damage or diminution in value.

          2.      The Parties shall select 28 Initial Personal Injury Bellwether Discovery Pool

  Plaintiffs, including eight plaintiffs alleging each of (i) kidney cancer, (ii) testicular cancer,

  (iii) hypothyroidism/thyroid disease, and (iv) four plaintiffs alleging ulcerative colitis. For

  the avoidance of doubt, a plaintiff alleging more than one of the above injuries shall be

  counted toward the total number of plaintiffs selected for each injury alleged.



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         3.      In the event the Parties cannot agree on the plaintiffs to be selected in one

  or more disease categories—and the Parties are strongly encouraged to agree and to make

  their best efforts to select representative cases in each category—by August 4, 2023, the

  Parties shall exchange a list of proposed plaintiffs to fill the remaining slots.

         4.      Should any plaintiff voluntarily dismiss his or her action following selection

  as an Initial Personal Injury Bellwether Discovery Pool Plaintiff, such dismissal shall be

  with prejudice, absent agreement of the Parties or some special circumstances that may be

  presented to the Court if the Parties cannot agree. Further, should any Initial Personal

  Injury Bellwether Discovery Pool Plaintiff dismiss his/her case for any reason prior to

  September 22, 2023, Defendants may (but are not required to) select a replacement plaintiff

  (“Replacement Plaintiff”) for each dismissed Initial Personal Injury Bellwether Discovery

  Pool Plaintiff by no later than October 6, 2023.

         5.      To the extent not already accomplished, each plaintiff selected as a

  Replacement     Plaintiff,   if   any,   shall   provide   to   Defendants    (via   email   at

  AFFFMDL.Authorizations@nelsonmullins.com) within seven calendar days of selection

  updated medical record and water and utility company record authorizations dated no

  earlier than three months prior to selection as a Replacement Plaintiff, as well as all

  medical, property, water or utility records in their possession, custody, or control.

         Any defenses under Rules 12(b)(1) and/or 12(b)(2) that Defendants may have in

  any of the Initial Personal Injury Bellwether Discovery Pool Cases are expressly preserved

  and not waived. Defendants shall not file 12(b)(1) or 12(b)(2) motions directed to the

  Initial Personal Injury Bellwether cases. They may raise these defenses by motion at a




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       later date, including in Rule 56 summary judgment motions in accordance with the

       schedule to be determined by the Court for the filing of such motions.

               6       By no later than August 11, 2023, the Parties shall jointly submit to the

       Court a list with each selected or proposed case, including the following information: (1)

       Plaintiff’s counsel information, (2) list of all defendants in the case (and counsel

       information), (3) a certification that all parties have waived Lexecon rights, 2 (4) a brief

       summary of the alleged injury(ies) and site(s) from which exposure occurred, (5) ECF

       references to the proposed Bellwether Plaintiff’s operative Complaint and relevant

       Defendants’ statements of affirmative defenses, and (6) if a plaintiff is not agreed, a brief

       explanation for why the proponent contends that plaintiff is representative and why the

       opponent contends that plaintiff is not representative. The Court shall select the 28 Initial

       Personal Injury Bellwether Discovery Pool Plaintiffs from this submission, and these

       Plaintiffs shall be subject to the provisions of Paragraphs B.4–5 above.

               7.      Should the Court disapprove of any case proposed for inclusion in the Initial

       Personal Injury Discovery Bellwether Pool, the Parties shall meet and confer to select a

       replacement case or cases and promptly propose such additional case(s) to the Court in

       accordance with the procedures set forth above.

       C.      Further Proceedings With Regard to Personal Injury Cases

               1.      The Parties shall meet and confer regarding Core Discovery and will

       endeavor to submit a draft Case Management Order (or competing proposed orders) in




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  For the avoidance of doubt, if a party waives Lexecon as to a specific case in the Initial Personal
Injury Discovery Bellwether Pool, such waiver will not apply to any other case in the MDL.

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     advance of the June 2023 case management conference or, in the absence of such a

     conference, the July 2023 case management conference.

            2.      The Parties are directed to meet and confer on a process for addressing

     personal injury claims not included in Part A above, including the potential dismissals of

     certain categories of injuries or other mechanisms for management of such claims that the

     Parties may determine are appropriate. The Parties will endeavor to submit a draft Case

     Management Order in advance of the June 2023 case management conference or, in the

     absence of such a conference, the July 2023 case management conference.



AND IT IS SO ORDERED.


     May 5, 2023                                        s/Richard Mark Gergel
     Charleston, South Carolina                          Hon. Richard M. Gergel
                                                         United States District Judge




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